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                           United States District Court
                                     EASTERN DISTRICT OF TEXAS
                                         SHERMAN DIVISION

                                                  §
  NELSON WILLIS                                   §
                                                  §
                                                               CIVIL ACTION NO. 4:23CV732
  V.                                              §
                                                          JUDGE MAZZANT/JUDGE JOHNSON
                                                  §
  ADAM M. ARON                                    §
                                                  §

                   MEMORANDUM ADOPTING REPORT AND
            RECOMMENDATION OF UNITED STATES MAGISTRATE JUDGE

        Came on for consideration the report of the United States Magistrate Judge in this action,

 this matter having been heretofore referred to the Magistrate Judge pursuant to 28 U.S.C. § 636.

 On June 5, 2024, the report of the Magistrate Judge (the “Report”) (Dkt. #39) was entered

 containing proposed findings of fact and recommendations regarding the following motions:

        •   Plaintiff Nelson Willis’s (“Plaintiff”) Motion for Emergency Halt and Cease-
            and-Desist Request Pursuant to Rule 65 of the Federal Rules of Civil Procedure
            (Dkt. #35);

        •   Plaintiff’s Motion for Temporary Restraining Order (Dkt. #37); and

        •   Plaintiff’s Emergency Motion to Establish Status Quo Regarding AMC
            Shareholder Meeting (Dkt. #38) (collectively, the “Motions for Injunction”)
            (Dkts. #35; 37–38).

 The Report (Dkt. #39) recommends that the Motions for Injunction (Dkts. #35; 37–38) be denied.

 On June 6, 2024, Plaintiff filed objections (the “Objections”) (Dkt. #40) to the Report (Dkt. #39),

 to which Defendant Adam M. Aron filed a response (the “Response”) (Dkt. #48) and Plaintiff filed

 a reply (the “Reply”) (Dkt. #50).

        The Court has conducted a de novo review of the Objections (Dkt. #40) and the Response

 (Dkt. #48) and is of the opinion that the findings and conclusions of the Magistrate Judge are

 correct, and the Objections (Dkt. #40) are without merit as to the ultimate findings of the

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     Magistrate Judge. Accordingly, Plaintiff’s Objections (Dkt. #40) are OVERRULED and the

     Magistrate Judge’s Report (Dkt. #39) is ADOPTED as the findings and conclusions of the Court.

            IT IS ORDERED that the Motions for Injunction (Dkts. #35; 37–38) are DENIED.

            SIGNED this 17th day of July, 2024.




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                                        AMOS L. MAZZANT
                                        UNITED STATES DISTRICT JUDGE




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